                 IN THE UNITED STATES DISTRICT COURT
                FOR THE EASTERN DISTRICT OF WISCONSIN


MATTHEW J. HARRIS,

            Plaintiff,

      v.                                      Case No. 21C1011

KYLE TRITT, et al.,

            Defendants.


             DEFENDANTS’ PROPOSED JURY INSTRUCTIONS


      NOW COMES Defendants, by and through their undersigned attorneys, who

respectfully request that the Court give the attached jury instructions, in addition

to the Court’s standard instructions.

      Modifications are noted with strikethrough for deletions and underline for

additions. Insertions where the standard instructions include [brackets] for that

purpose are not annotated.

      Dated: January 30, 2024

                                        Respectfully submitted,

                                        JOSHUA L. KAUL
                                        Attorney General of Wisconsin

                                        s/ Brandon T. Flugaur
                                        BRANDON T. FLUGAUR
                                        Assistant Attorney General
                                        State Bar #1074305

                                        ASHLEY FARD
                                        Assistant Attorney General
                                        State Bar #1121454



       Case 1:21-cv-01011-WCG Filed 01/30/24 Page 1 of 14 Document 83
                                  Attorneys for Defendants

Wisconsin Department of Justice
Post Office Box 7857
Madison, Wisconsin 53707-7857
(608) 266-1780 (Flugaur)
(608) 261-8120 (Fard)
(608) 294-2907 (Fax)
flugaurbt@doj.state.wi.us
farda@doj.state.wi.us




                                    2
      Case 1:21-cv-01011-WCG Filed 01/30/24 Page 2 of 14 Document 83
                 Defendants’ Additional Proposed Jury Instruction 1:


          GENERAL: DEPARTMENT OF CORRECTIONS NOT A PARTY

       Defendants are being sued as an individual. Neither the Wisconsin

Department of Corrections nor the State of Wisconsin is a party to this lawsuit.




Fed. Civ. J.I. of the 7th Cir. § 7.01 (title modified)


                                             3
        Case 1:21-cv-01011-WCG Filed 01/30/24 Page 3 of 14 Document 83
                 Defendants’ Additional Proposed Jury Instruction 2:

          GENERAL: REQUIREMENT OF PERSONAL INVOLVEMENT

       Plaintiff must prove by a preponderance of the evidence that the Defendant

was personally involved in the conduct that Plaintiff complains about. You may not

hold the Defendant liable for what others did or did not do.




Fed. Civ. J.I. of the 7th Cir. § 7.02


                                          4
        Case 1:21-cv-01011-WCG Filed 01/30/24 Page 4 of 14 Document 83
                 Defendants’ Additional Proposed Jury Instruction 3:

                                Absence of Evidence

         The law does not require any party to call as a witness every person who

might have knowledge of the facts related to this trial. Similarly, the law does not

require any party to present as exhibits all papers and things mentioned during this

trial.




Seventh Circuit Federal Jury Instructions—Civil § 1.18.



                                         5
         Case 1:21-cv-01011-WCG Filed 01/30/24 Page 5 of 14 Document 83
                  Defendants’ Additional Proposed Instruction 4:
                           Lawyer Interviewing Witness

      It is proper for a lawyer to meet with any witness in preparation for trial.




Seventh Circuit Federal Jury Instructions—Civil § 1.16


                                          6
       Case 1:21-cv-01011-WCG Filed 01/30/24 Page 6 of 14 Document 83
               Defendants’ Additional Proposed Jury Instruction 5:
              Limiting Instruction Concerning Evidence of Statutes,
                 Administrative Rules, Regulations, and Policies

      You have heard evidence about whether the Defendants’ conduct complied

with Wisconsin DOC policies. You may consider this evidence in your deliberations.

But remember that the issues are whether the Defendants acted with deliberate

indifference in violation of the Eighth Amendment, not whether a policy might have

been complied with.




Seventh Circuit Federal Jury Instructions—Civil § 7.04 (modified)



                                         7
       Case 1:21-cv-01011-WCG Filed 01/30/24 Page 7 of 14 Document 83
                 Defendants’ Additional Proposed Jury Instruction 6:
                      Impeachment of a Witness – Convictions

      You have heard evidence that Matthew Harris has been convicted of a crime.

You may consider this evidence only in deciding whether his testimony is truthful in

whole, in part, or not at all. You may not consider this evidence for any other

purpose.




           Seventh Circuit Federal Jury Instructions—Civil § 1.15 (modified)



                                          8
       Case 1:21-cv-01011-WCG Filed 01/30/24 Page 8 of 14 Document 83
                Defendants’ Additional Proposed Jury Instruction 7:

                        Multiple Claims; Multiple Defendants

       You must give separate consideration to each claim and each party in this
case. Although there are 5 defendants, it does not follow that if one is liable, any of
the others are is also liable.




Seventh Circuit Federal Jury Instructions—Civil § 1.25




                                           9
       Case 1:21-cv-01011-WCG Filed 01/30/24 Page 9 of 14 Document 83
                Defendants’ Additional Proposed Jury Instruction 8:

          Liability: Eighth Amendment Failure to Protect from Self Harm

      The Constitution requires prison officials to protect prisoners from harming
themselves under certain circumstances. To succeed on this claim, Plaintiff must
prove each of the following four (4) things by a preponderance of the evidence:
       1.   There was a strong likelihood that Plaintiff would seriously harm
himself in the near future. A mere possibility of serious harm is not a strong
likelihood.

      2.     Defendant was aware of this strong likelihood that Plaintiff would
seriously harm himself in the near future.

       3.    Defendant intentionally disregarded this risk when they placed razor
blades in his cell, taunted and intimidated Plaintiff by telling him that they placed
razor blades in his cell, and encouraged and instructed him to commit self-harm.

      4.     Plaintiff would have suffered less harm if Defendant had not taken
these actions.

      If you find that Plaintiff has proved each of these things by a preponderance
of the evidence, then you must decide for Plaintiff, and go on to consider the
question of damages.

      If, on the other hand, you find that Plaintiff has failed to prove any one of
these things by a preponderance of the evidence, then you must decide for
Defendant, and you will not consider the question of damages.




Seventh Circuit Federal Jury Instructions—Civil § 7.19 (modified); Lisle v. Welborn,
933 F.3d 705, 717-18 (7th Cir. 2019); Docket 11 at 8 (Screening Order).




                                         10
      Case 1:21-cv-01011-WCG Filed 01/30/24 Page 10 of 14 Document 83
               Defendants’ Additional Proposed Jury Instruction 9:

                           No need to consider damages

       If you decide for the Defendant on the question of liability, then you should

not consider the question of damages.




Seventh Circuit Federal Jury Instructions—Civil § 1.31




                                        11
      Case 1:21-cv-01011-WCG Filed 01/30/24 Page 11 of 14 Document 83
                Defendants’ Additional Proposed Jury Instruction 10:

                     Compensatory Damages in Prisoner Cases
      If you find in favor of Plaintiff, then you must determine the amount of

money that will fairly compensate Plaintiff for any injury that you find he sustained

as a direct result of the Defendants’ actions or inaction.

      Plaintiff must prove his damages by a preponderance of the evidence. Your

award must be based on evidence and not speculation.

      You should consider the following types of compensatory damages, and no

others: The physical and mental and emotional pain and suffering that Plaintiff

has experienced. No evidence of the dollar value of physical or mental and

emotional pain and suffering has been or needs to be introduced. There is no exact

standard for setting the damages to be awarded on account of pain and suffering.

You are to determine an amount that will fairly compensate the Plaintiff for the

injury he has sustained.




Seventh Circuit Federal Jury Instructions—Civil § 7.27




                                          12
       Case 1:21-cv-01011-WCG Filed 01/30/24 Page 12 of 14 Document 83
                 Defendant’s Proposed Additional Instruction No. 11

                                  Damages: Punitive

       If you find for Plaintiff, you may, but are not required to, assess punitive

damages against Defendant. The purposes of punitive damages are to punish a

defendant for his or her conduct and to serve as an example or warning to

Defendant and others not to engage in similar conduct in the future.

       Plaintiff must prove by a preponderance of the evidence that punitive

damages should be assessed against Defendant. You may assess punitive damages

only if you find that his conduct was malicious or in reckless disregard of Plaintiff’s

rights. Conduct is malicious if it is accompanied by ill will or spite, or is done for the

purpose of injuring Plaintiff. Conduct is in reckless disregard of Plaintiff’s rights if,

under the circumstances, Defendant simply did not care about Plaintiff’s safety.

       If you find that punitive damages are appropriate, then you must use sound

reason in setting the amount of those damages. Punitive damages, if any, should be

in an amount sufficient to fulfill the purposes that I have described to you, but

should not reflect bias, prejudice, or sympathy toward any party. In determining the

amount of any punitive damages, you should consider the following factors:

   •   the reprehensibility of Defendant’s conduct;

   •   the impact of Defendant’s conduct on Plaintiff;

   •   the relationship between Plaintiff and Defendant;

   •   the likelihood that Defendant would repeat the conduct if an award of

       punitive damages is not made;




                                           13
       Case 1:21-cv-01011-WCG Filed 01/30/24 Page 13 of 14 Document 83
   •   the relationship of any award of punitive damages to the amount of actual

       harm the Plaintiff suffered.




Fed. Civ. J.I. of the 7th Cir. § 7.28 (modified)


                                            14
       Case 1:21-cv-01011-WCG Filed 01/30/24 Page 14 of 14 Document 83
